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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

  ROGER TODD,                                         )
                                                      )
                 Plaintiff,                           )
                                                             Case No. 2:19-cv-00085-JMS-DLP
  v.                                                  )
                                                      )
  OCWEN LOAN SERVICING, INC., and                     )
  DEUTSCHE BANK NATIONAL TRUST CO.,                   )
  as Trustee for NovaStar Mortgage Funding            )
  Trust, Series 2007-1,                               )
                                                      )
                 Defendant.
                                                      )

      DEFENDANT OCWEN LOAN SERVICING, LLC’S OBJECTION TO THE
   MAGISTRATE JUDGE’S AUGUST 21, 2020 ORDER WITH INCORPORATED BRIEF
                             IN SUPPORT

         Defendant Ocwen Loan Servicing, LLC (“Defendant”), incorrectly named in the caption

  as Ocwen Loan Servicing, Inc., through its undersigned counsel, respectfully objects to

  Magistrate Judge Doris L. Pryor’s August 21, 2020 order, in which she ordered non-party Stone

  Turn Group, LLP (“Stone Turn”) to produce certain “Compliance Review Reports” (the

  “Reports”). In support, Defendant states as follows:

                                        INTRODUCTION

         This is a simple case. It is not a class action. It involves a single plaintiff and a single

  Indiana mortgage loan. It relates to Defendant’s alleged wrongful servicing of Plaintiff’s Indiana

  mortgage loan. The single question at issue is whether Defendant improperly serviced Plaintiff’s

  Indiana mortgage loan in violation of the various state and federal statutes on which Plaintiff

  bases his claims. Nothing else is at issue. Despite this, Plaintiff seeks broad, sweeping, and

  irrelevant discovery related to consent orders Defendant entered into with the New York

  Department of Financial Service (“NYDS”) in 2011 and 2014—which involved New York

  mortgage loans and New York borrowers. The consent orders, from nine and six years ago, did


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  not involve Plaintiff’s Indiana mortgage loan or Indiana borrowers. And Defendant’s purported

  servicing operations from 2011 and 2014 long predate the alleged servicing conduct at issue

  which mostly occurred between 2017 to 2019. Plaintiff does not reference or mention the New

  York consent orders in his second amended complaint nor do the consent orders mention or

  reference Plaintiff’s mortgage loan.

         For the above reasons, and because New York Banking Law statutorily protects the

  Reports from subpoena—including Plaintiff’s, Magistrate Judge Doris L. Pryor (the “Magistrate

  Judge”) erred when she ordered Stone Turn to produce all “Compliance Review Reports” that

  relate to consent orders from nine and six years ago.

         At least two courts already have prevented non-party Stone Turn from having to produce

  such documents (or substantially similar documents). See Order Granting Motion for Protective

  Order, Ponder v. Ocwen Loan Servicing, Case No. 16-cv-04125 (N.D. Ga. July 16, 2019), Dkt.

  158; Order Granting Motion to Quash, Ponder v. Ocwen Loan Servicing, Case No. 19-mc-91215

  (D. Mass. May 24, 2019), Dkt. 5. The Court should do the same here.

                       FACTUAL AND PROCEDURAL BACKGROUND

         Stone Turn served as a “Compliance Monitor” in connection with the consent orders

  Defendant entered into with the NYDFS between 2011 and 2014. The consent orders concerned

  New York borrowers and New York mortgage loans. There is no connection between Stone

  Turn’s work regarding Defendant’s consent orders with a New York regulator (from nine and six

  years ago) and Plaintiff—an Indiana resident and borrower—or his Indiana mortgage loan. Nor

  is there any connection between the consent orders and Stone Turn’s work regarding the consent

  orders and Defendant’s servicing of Plaintiff’s mortgage loan from 2017 to 2019 (i.e., the

  primarily relevant time period at issue in Plaintiff’s operative complaint). The servicing conduct



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  at issue occurred at least six years after the 2011 consent order and almost three years after the

  2014 consent order.

         Despite the lack of any connection or relevance to his mortgage loan or this case, Plaintiff

  subpoenaed non-party Stone Turn requesting the following irrelevant information:

         Copies of all Compliance Review Reports, findings, or official correspondence,
         provided to the New York State Department of Financial Services with regard to
         Ocwen Loan Servicing, LLC (or any related entity of Ocwen Loan Servicing,
         LLC) from January 1, 2013 to December 31, 2018.

  See Subpoena to Stone Turn Group, LLP (the “Stone Turn Subpoena”), attached hereto as

  Exhibit A.

          Plaintiff’s attempt to subpoena the above documents from non-party Stone Turn is

  nothing more than an abuse of the discovery process, in which he seeks information that has no

  bearing on the claims or defenses in this action.1 On top of this, New York Banking Law

  statutorily bars production of the Reports. Defendant thus filed a motion for protective order on

  January 21, 2020. The Magistrate Judge granted Defendant’s motion in part and denied it part.

  See Dkt. 170. In particular, the Magistrate Judge denied Defendant’s motion as it applied to the

  Reports but granted it as it applied to the other documents Plaintiff requested.          Id.    The

  Magistrate Judge then ordered non-party Stone Turn to produce the Reports. Id. The Magistrate

  erred when she did so because: 1) the Reports are not relevant to the claims and defenses in this

  matter and exceed the scope of discovery Rule 26 of the Federal Rules of Civil Procedure

  permits and 2) New York Banking Law statutorily protects the Reports from Plaintiff’s

  subpoena.



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    Stone Turn served objections to Plaintiff’s subpoena on or around November 19, 2019.
  Attached as Exhibit B is a copy of such objections. Plaintiff has not moved to compel
  production or filed any motion to in the appropriate district court to overcome non-party Stone
  Turn’s objections.

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                                        LEGAL STANDARD

         Federal Rule of Civil Procedure 72(a) provides that, for non-dispositive matters, this

  Court should set aside any portion of the Magistrate Judge’s order that is “clearly erroneous” or

  “contrary to law.” Fed. R. Civ. P. 72(a). The “clearly erroneous” standard applies only to

  findings of fact, and the Magistrate Judge here made no such findings. See Jernryd v. Nilsson,

  117 F.R.D. 416, 417 (N.D. Ill. 1987) (“Because Magistrate Weisberg’s order is based upon legal

  conclusions and not on his findings of fact, the clearly erroneous standard does not apply and the

  scope of our review on this motion is plenary.”). That leaves the “contrary to law” standard,

  which, according to the Seventh Circuit, allows the district court to conduct a “full review” of the

  Magistrate Judge’s order. Henry v. Centeno, 2011 U.S. Dist. LEXIS 94749 (N.D. Ill. 2011)

  (citing United States v. Frans, 697 F.2d 188, 193 n.10 (7th Cir. 1983)). Here, the Magistrate

  Judge’s August 21, 2020 order is contrary to law for the below reasons.

                                            ARGUMENT

         I.      The Magistrate Judge Improperly Allowed Discovery Beyond of the Scope
                 Rule 26 Permits Because the Reports Are Irrelevant.

         Discovery is not limitless. Rule 26(b) of the Federal Rules of Civil Procedure limits

  discovery to “nonprivileged information that is relevant to any party’s claim or defense and

  proportional to the needs of the case, considering the importance of the issues at stake in the

  action, the amount in controversy, the parties’ relative access to relevant information, the parties’

  resources, the importance of the discovery in resolving the issues, and whether the burden or

  expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1); Trupp

  v. Roche Diagnostics Corp., 2019 U.S. Dist. LEXIS 87764, *3-4 (S.D. Ind. 2019); Noble

  Roman’s Inc. v. Hattenhauer Distributing Co., 314 F.R.D. 304, 307 (S.D. Ind. 2016). “The




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  limits and breadth of discovery expressed in Rule 26 are applicable to non-party discovery under

  Rule 45.” Noble Roman’s Inc., 314 F.R.D. 304 at 307.

         Rule 26 and the other discovery rules are not a ticket to an unlimited, never-ending

  exploration of every conceivable matter that captures an attorney’s interest. Vakharia v. Swedish

  Covenant Hosp., 1994 U.S. Dist. LEXIS 2712, *4-5 (N.D. Ill. 1994). “Parties are entitled to a

  reasonable opportunity to investigate the facts—and no more.”              Id.   “Experience has

  demonstrated that the discovery rules can be and sometimes are abused, and there is presently an

  ongoing effort to curb such abuses.” Id. at 3. The U.S. Supreme Court has cautioned that the

  requirement of Rule 26(b)(1), that the material sought in discovery be “relevant,” should be

  firmly applied and that “judges should not neglect their power to restrict discovery . . .” Herbert

  v. Lando, 441 U.S. 153, 177 (1979) (emphasis added).

         Courts “must limit the frequency or extent of discovery otherwise allowed by these rules

  or by local rule if it determines that: . . . (iii) the proposed discovery is outside the scope

  permitted by Rule 26(b)(1).” Fed. R. Civ. P. 26(b)(2)(C). The tool available to courts to limit

  discovery that runs afoul of Rule 26(b)(1) includes the issuance of a protective order under Rule

  26(c). Noble Roman’s, 314 F.R.D. at 309.

         When deciding whether to exercise their discretion to limit discovery, courts should do so

  with the understanding that the fundamental principle of Rule 26(b)(1) of the Federal Rules of

  Civil Procedure is “that lawyers must size and shape their discovery requests to the requisites of

  a case.” Roberts v. Clark County Sch. Dist., 312 F.R.D. 594, 603 (D. Nev. 2016). This is even

  more true following the 2015 amendments to Rule 26(b)(1), which emphasized the need to

  impose “reasonable limits on discovery through increased reliance on the common-sense concept

  of proportionality.”   Id.   In fact, “Federal Rule 26(b), describing the scope and limits of



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  discovery, was amended effective December 1, 2015, to once again protect against over-

  discovery and to emphasize judicial management of the discovery process.” Trupp, 2019 U.S.

  Dist. LEXIS 87764 at 5. Discovery is intended to provide the parties with “efficient access to

  what is needed to prove a claim or defense, but eliminate unnecessary or wasteful discovery.”

  Roberts, 312 F.R.D. at 603.

         Unless the requesting party can demonstrate the relevancy of the materials sought, judges

  “should not hesitate to exercise appropriate control over the discovery process . . . ‘fishing

  expeditions’ in discovery are prohibited because the information being sought is ultimately not

  ‘relevant.’” BankDirect Capital Fin., LLC v. Capital Premium Fin., Inc., 2018 U.S. Dist. LEXIS

  26386, *9 (N.D. Ill. 2018). Indeed, the Seventh Circuit has often said that “discovery is not to be

  used as a fishing expedition.” E.E.O.C. v. Harvey L. Walner & Associates, 91 F.3d 963, 971-972

  (7th Cir. 1996).

         Here, the Magistrate Judge erred when she ordered non-party Stone Turn to produce the

  Reports because they are too removed in time to have any relevancy to this action. Defendant

  entered into the consent orders at issue with the NYDFS between 2011 and 2014. And those

  consent orders relate to Defendant’s New York (not Indiana) servicing operations that date at

  least as far back as 2011—almost six years before Defendant’s alleged servicing errors with

  respect to Plaintiff’s mortgage loan occurred. Plaintiff’s own allegations confirm this. In

  particular, Plaintiff alleges Defendant violated the Real Estate Settlement Procedures Act

  (“RESPA”) by failing to respond to various notices of error and requests for information. But

  Plaintiff allegedly sent the first alleged notice of error and/or request for information to

  Defendant on May 21, 2018. See Plaintiff’s Sec. Am. Compl., Dkt. 40, ¶206. Similarly,

  Plaintiff bases his claim under the Fair Credit Reporting Act (“FCRA”) on Defendant’s alleged



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  failure to reasonably investigate a credit dispute Plaintiff alleges he submitted on August 27,

  2018. Id. at ¶317. Both of these events—and all other alleged servicing errors—occurred long

  after Defendant entered into the consent orders with the NYDFS in 2011 and 2014 and long after

  Stone Turn purportedly monitored Defendant’s compliance with those orders. Put simply, there

  is no connection between Stone Turn’s work regarding Defendant’s consent orders with a New

  York regulator from nine and six years ago and Plaintiff (i.e., an Indiana resident and borrower),

  nor is there any connection to Plaintiff’s Indiana mortgage loan and Defendant’s servicing of

  such mortgage loan from 2017 to 2019 (i.e., the primarily relevant time period at issue in

  Plaintiff’s operative complaint). See generally Plf.’s Sec. Am. Compl., Dkt. 40.

         Moreover, the consent orders involved New York borrowers and New York loans. This

  case involves an Indiana borrower, Indiana property, and Indiana loan—not a New York

  borrower, property, or mortgage loan. Defendant’s New York servicing operations dating back

  to 2011 and/or it compliance with any settlements reached with the NYDFS between 2011 and

  2014 are not relevant to the claims and defenses in this matter. Plaintiff’s request for “all

  Compliance Review Reports, findings, or official correspondence, provided to the New York

  State Department of Financial Services with regard to Ocwen Loan Servicing, LLC . . . from

  January 1, 2013 to December 31, 2018” thus far exceeds the scope of this case and seeks

  information far beyond that related to the mortgage servicing conduct at issue. Noble Roman’s,

  Inc., 314 F.R.D. at 312 (preventing production of documents and depositions because the

  discovery sought was “too far afield from the contested issues” and because the party seeking

  discovery could not establish relevancy or why the discovery was necessary); Sirazi v. Panda

  Express, Inc., 2009 U.S. Dist. LEXIS 109558, *10 (N.D. Ill. 2009) (preventing production where

  there was no basis in the record to support theory underlying discovery requests, reasoning:



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  “without some reason to conclude that the pond might be stocked, one cannot demand to

  ‘fish.’”). Champion Pro Consulting Group, 2014 U.S. Dist. LEXIS 165825 at 10 (“a request for

  all documents relating to a subject is usually subject to criticism as overbroad since . . . all

  documents relate to others in some remote fashion. Such a request unfairly places the onus of

  production on the recipient of the request and not where it belongs—upon the person who

  drafted such a sloppy request.”).

         The Magistrate Judge also erred when she ordered non-party Stone Turn to produce the

  Reports because Plaintiff’s own statements confirm the Reports are not relevant. In particular,

  Plaintiff claimed the documents he requested from Stone Turn, including the Reports the

  Magistrate Judge ordered non-party Stone Turn to produce, were relevant because they involve

  “(a) robo-signing, (b) inaccurate affidavits and failure to properly validate document execution

  processes, (c) missing documentation, (d) wrongful foreclosure, (e) failure to properly maintain

  books and records . . .” Plf.’s Opp., Dkt. 118 at 1. Yet—this case does not involve “(a) robo-

  signing, (b) inaccurate affidavits and failure to properly validate document execution processes,

  (c) missing documentation, (d) wrongful foreclosure, (e) failure to properly maintain books and

  records . . .” Id. A plain reading of Plaintiff’s second amended complaint (i.e., the operative

  complaint) confirms this, and in particular, confirms this case does not involve a “wrongful

  foreclosure.” See generally Plf.’s Sec. Am. Compl., Dkt. 40. There is a reason for this:

  Defendant never sought to foreclose Plaintiff’s mortgage nor did it file a foreclosure action.

         In fact, Plaintiff previously summarized this case as follows: whether Defendant engaged

  in servicing misconduct with respect to “the misapplication of payments, assessment and

  collection of unjust fees, mismanagement of borrower escrow accounts, wrongful and deceptive

  collection activities, and manufactured states of default during and immediately following a



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  Chapter 13 bankruptcy proceeding.” Plf.’s Motion to Consolidate, Dkt. 92 at 5. The Court also

  previously summarized this case as follows: “[t]he gist of the narrative is that Mr. Todd

  completed a Chapter 13 bankruptcy proceeding, and thereafter Ocwen engaged in practices that

  violated the law, including charging improper fees, misapplying payments, mishandling funds,

  increasing payments or balances owed without explanation or notice, attempting to collect

  amounts not actually owed, failing to respond to requests for information or to correct errors,

  failing to disclose information or provide required notices, and failing to provide a proper

  accounting of the payment history.” Court’s February 6, 2020 Order, Dkt. 120 at 2.

         Plaintiff’s own summary, along with the Court’s, confirm this case does not involve “(a)

  robo-signing, (b) inaccurate affidavits and failure to properly validate document execution

  processes, (c) missing documentation, (d) wrongful foreclosure, (e) failure to properly maintain

  books and records . . .” Nor do such summaries hint this case involves such issues, which

  eviscerates Plaintiff’s claimed relevance of the Reports.    Plf.’s Opp., Dkt. 118 at 1.        The

  Magistrate Judge thus erred when she ordered Stone Turn to produce the Reports.

         In sum, Defendant entered into the consents orders with the NYDFS—a New York

  regulator. The consent orders concerned New York borrowers and New York loans. This case

  involves an Indiana borrower, Indiana property, and Indiana loan. The single question at issue is

  whether Defendant improperly serviced Plaintiff’s mortgage loan in violation of the various state

  and federal statutes on which Plaintiff bases his claims. Whether Defendant improperly serviced

  New York mortgage loans regarding New York borrowers dating as far back as 2011 sheds no

  light and has no bearing on whether Defendant improperly serviced Plaintiff’s Indiana mortgage

  loan almost six years later. Similarly, whether Defendant complied with the consent orders

  sheds no light and has no bearing on whether Defendant improperly serviced Plaintiff’s Indiana



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   mortgage loan almost six years later. This especially is true because the consent orders do not

   reference or mention Plaintiff or his mortgage loan.        After all—they would not—because

   Plaintiff is an Indiana resident with an Indiana mortgage loan.

          Put simply, Defendant’s New York servicing operations dating back to 2011 and/or its

   compliance with any consent orders reached with the NYDFS between 2011 and 2014 are “too

   far afield from the contested issues” in this case. Noble Roman’s, Inc., 314 F.R.D. at 312

   (preventing production of documents and depositions because the discovery sought was “too far

   afield from the contested issues” and because the party seeking discovery could not establish

   relevancy or why the discovery was necessary); Sirazi, 2009 U.S. Dist. LEXIS 109558 at 10

   (preventing production where there was no basis in the record to support theory underlying

   discovery requests, reasoning: “without some reason to conclude that the pond might be stocked,

   one cannot demand to ‘fish.’”).

          At least two courts already have prevented non-party Stone Turn from having to produce

   the documents Plaintiff requested (or substantially similar documents). See Order Granting

   Motion for Protective Order, Ponder v. Ocwen Loan Servicing, Case No. 16-cv-04125 (N.D. Ga.

   July 16, 2019), Dkt. 158; Order Granting Motion to Quash, Ponder v. Ocwen Loan Servicing,

   Case No. 19-mc-91215 (D. Mass. May 24, 2019), Dkt. 5. In Ponder v. Ocwen Loan Servicing,

   the plaintiff brought claims against Defendant for alleged violations of RESPA, the FCRA, and

   the Fair Debt Collection Practices Act—the same statues under which Plaintiff brings its claims

   in this action. Id. The plaintiff in Ponder served a non-party subpoena on Stone Turn seeking

   the same or substantially the same information Plaintiff seeks from Stone turn here.           Id.

   Defendant sought to prevent Stone Turn from having to produce such documents on substantially

   the same grounds as it does here. Defendant prevailed. Id. The Magistrate Judge erred when



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   she chose not to follow the courts in Ponder. The Court should not do the same. It should,

   instead, should follow the holdings in Ponder and prevent non-party Stone Turn from having to

   produce the Reports.

          II.     The Magistrate Judge Also Erred She Failed to Hold that New York Banking
                  Law § 36.10 Statutorily Bars Production of the Reports.

          Defendant explained in its briefs in support of it motion for protective order that New

   York Banking Law § 36.10 statutorily bars production of the documents the exact documents

   Plaintiff seeks from Stone Turn, including the Reports. See Def.’s Opening Brief, Dkt. 107 at 8-

   10 and Def.’s Reply Brief, Dkt. 125. Plaintiff did not substantively respond to Defendant’s

   assertion—nor did he attempt to. See generally Plf.’s Opp., Dkt. 118. Courts have made clear

   that a plaintiff’s failure—which was the case here—to respond to an argument raised in a motion

   forfeits any argument on that issue. See Bonte v. U.S. Bank, N.A., 624 F.3d 461, 466 (7th Cir.

   2010) (“Failure to respond to an argument . . . results in waiver.”); Cincinnati Ins. Co. v. E. Atl.

   Ins. Co., 260 F.3d 742, 747 (7th Cir. 2001) (“acquiescence operates as a waiver” when a party

   fails to respond to a nonfrivolous argument). Plaintiff thus waived his right to substantively

   challenge whether New York Banking Law § 36.10 bars production of the Reports—and the

   Court erred in ordering such production due to Plaintiff’ waiver.

          Rather than substantively address or dispute Defendant’s assertion that New York

   Banking Law § 36.10 statutorily bars production of the documents he seeks from Stone Turn,

   Plaintiff conclusorily alleged—in one sentence and without any factual support—that Defendant

   lacked standing to seek to exclude the documents under New York Banking Law § 36.10. But

   Plaintiff confused standing and privilege with a statutory bar on production.

          Under New York Banking Law § 36, the NYDFS is empowered to examine a number of

   banking organizations and financial institutions, including registered mortgage loan servicers.


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   See N.Y. Banking Law § 36.10. When it does, as it did with Defendant by virtue of the consent

   orders, investigation leading to such orders, and Defendant’s compliance with such orders as

   monitored by non-party Stone Turn, New York Banking Law statutorily bars from disclosure all

   documents concerning or arising from a regulatory examination or investigation. N.Y. Banking

   Law § 36.10. In particular, New York Banking Law § 36.10 states a follows:

                  All reports of examinations and investigations, correspondence and
                  memorandum concerning or arising out of such examination and
                  investigation . . . shall be confidential communications, shall not
                  be subject to subpoena and shall not be made public unless, in the
                  judgment of the superintendent, the ends of justice and the public
                  advantage will be subserved by the publication thereof, in which
                  event the superintendent may publish or authorize the publication
                  of a copy of any such report or any part thereof in such manner as
                  may be deemed proper or unless such laws specifically authorize
                  such disclosure.

   N.Y. Banking Law § 36.10 (emphasis added).

          Courts have enforced New York Banking Law § 36.10 to statutorily bar the production of

   subpoenaed and/or requested documents—regardless of whether the entity seeking to bar

   production was the NYDFS. Put differently, New York Banking Law § 36.10’s statutory bar

   does not only apply in circumstances where the NYDFS seeks to bar production of subpoenaed

   and/or requested documents (as Plaintiff suggested). A plain reading of the statute make this

   clear. And so have courts. See Alaska Elec. Pension Fund v. Bank of Am. Corp., 2016 U.S. Dist.

   LEXIS 158455, *26-30 (S.D.N.Y. 2016) (holding that New York Banking Law protected

   subpoenaed and/or requested materials from disclosure—where the defendants—not NYDFS

   opposed production and stating as follows “relevant precedent makes clear that some of the

   materials Plaintiffs seek cannot . . . be obtained via subpoena from Defendants”).

          Here, New York Banking Law § 36.10 statutorily bars production of the exact documents

   Plaintiff seeks from Stone Turn via subpoena, including the Reports, and expressly states they


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   are not “subject to subpoena.” N.Y. Banking Law § 36.10. For example, Plaintiff seeks “all

   Compliance Review Reports, findings . . .” See Ex. A. The first type of document statutorily

   protected by New York Banking Law is “reports of examinations and investigations.” N.Y.

   Banking Law § 36.10. The Magistrate Judge thus erred in ordering non-party Stone Turn to

   produce the Reports in response to Plaintiff’s subpoena.

                                           CONCLUSION

          For the foregoing reasons, the Court should sustain Defendant’s objection to the

   Magistrate Judge’s August 21, 2020 order and enter a protective order that prevents non-party

   Stone Turn from having to produce the Reports.

                                                    Respectfully submitted,
                                                    HINSHAW & CULBERTSON LLP



                                               By: /s/ Joseph D. Kern
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                                  CERTIFICATE OF SERVICE

          I, Joseph D. Kern, an attorney, certify that on September 4, 2020, caused to be served a
   copy of the foregoing by: depositing same in the U.S. Mail box at 151 North Franklin Street,
   Chicago, Illinois 60606, prior to 5:00 p.m., postage prepaid; messenger delivery; UPS; facsimile
   transmitted from (312) 704-3001; email; or electronically via the Case Management/Electronic
   Case Filing system (“ECF”), as indicated below.

          ECF
          Facsimile
          UPS
          U.S. Mail
          E-Mail
          Messenger Delivery


   To: All Parties of Record



                                                  /s/ Joseph D. Kern
                                                  Joseph D. Kern




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